[1] This matter comes before us upon a petition for a writ ofsupersedeas to restrain the enforcement of a judgment in favor of defendant and respondent, Jasper Barry, pending the appeal of plaintiff and appellant herein from said judgment. Said appeal has been determined by this court this day (No. 11120 of the records of this court, ante, p. 189 [277 P. 333]) and the judgment *Page 200 
in favor of the defendant and respondent has been reversed. The question of the right of appellant to the restraining writ sought becomes, therefore, a moot question.
The petition for the writ of supersedeas is denied.
Curtis, J., Seawell, J., Richards, J., Shenk, J., and Waste, C.J., concurred.
Rehearing denied.
Preston J., dissented.